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                                                                                   United States Courts Southern
                                                                                          District of Texas
                                                                                                 FILED

                         UNITED STATES DISTRICT COURT                                     July 27, 2023
                                                    for the                       Nathan Ochsner, Clerk of Court
                      SOUTHERN                   DISTRICT OF TEXAS

 DANIELS                                                )
                                                        )
                        Plaintiff(s)                    )
                                                        )
                v.                                      )                 1
                                                        )      Case No.   f 1>J.: CV-00/fr
  Pe_n_n J/LQ,L Locw 5erV✓cfJ· . e.+ o)                 )
       0                                                )
                        Defendant(s)                    )
                                                        )

                          AFFIDAVIT ACCOMPANYING MOTION
                     FOR PERMISSION TO APPEAL IN FORMA PAUPERIS



 Affidavit in Support of Motion                       Instructions

   I swear or affirm under penalty of perjury          Complete all questions in thi~.application and
 that, because of my poverty, I cannot prepay         then sign it. Do not leave any blanks: if the
 the docket fees of my appeal or post a bond for      answer to a question is "O," "none," or "not
 them. I believe I am entitled to redress. I swear    applicable (N/A)," write in that respqp.se. If
 or affirm under penalty of perjury under United      you need more space to answer a question or to
 States laws that my answers on this form are         explain your answer, attach a separate sheet of
 true and correct. (28 U.S.C. § 1746; 18 U.S.C.       paper identified with your name, your case's
 § 1621.)                                             docket number, and the question number.


  Signed:                                              Date:    1- /ff· J. 0 l3
 My issues on appeal are:   PLAINTIFF/APPELLANT lacks the financial

 resources and immediate administrative resources to pay for this
 appeal. Due to poverty the foreclosure, Plaintiff/Appellant is
 unhoused. This cause has drained Plaintiffs funds for this appeal.

 1.     For both you and your spouse estimate the average amount ofmoney received from each
        ofthe following sources during the past 12 months. Adjust any amount that was received
        weekly, biweekly, quarterly, semiannually, or annually to show the monthly rate. Use
        gross amounts, that is, amounts before any deductions for taxes or otherwise.


                                   ...-:~.'.
                                   'l/f
                                        ,:,;._
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  Income source                          I Average monthly
                                          amount during the past
                                                                        IAmount
                                                                         month
                                                                                expected next

                                          12 months

                                         l:ou           ISpouse IYou                 ISpouse
  Employment
 --
  Self-employment                        I$

 Income from real property (such as
 rental income)
                                          $
                                            0
                                                                         $
                                                                               [)    1$/V
 Interest and dividends                   $ 0            $               $     C)    I$

  Gifts                                  I$ 0             $              $     0
 Alimony                                  $        0     $               $     0
  Child support                           $        f)    $               $     0         $
  Retirement (such as social security,    $0             $    Jl/4,      $     a         $/1)/)l
  pensions, annuities, insurance)
  Disability (such as social security,    $                              $
  insurance payments)                              0     $    A//4             l')       $IV/A
  Unemployment payments                   $        0      $ 1/J          $     Cv        $ JU
  Public-assistance (such as welfare)      $       ()     M 111
                                                          $              $     c)
                                                                                         $    /J//4
  Other (specify):                         $
                                                   0     $AJA            $     D         $   /U/4-
      Total monthly income:              \ s 1,oov
                                               /
                                                        !$AJA j s l2..oo 1saJ~
 2.       List your employment history for the past two years, most recent employer first, (Gross
          monthly pay is before taxes or other deductions.)



  Employer              Address                           Dates of employment        Gross
                                                                                     monthly pay
                                                                                     $       /,'J.tJf)
                                                                      /_J.,.
                                                                                     $ J,ff!JO
                                                              It)/_;}                $/U//~
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 3.       List your spouse's employment history for the past two years, most recent employer first.
          (Gross monthly pay is before taxes or other deductions.)

  Employer              Address                           Dates of employment


                                                                                       $

                                                                                       $

                                                                                       $



 4.       How much cash do you and your spouse have? $       0
          Below, state any money you or your spouse have in bank accounts or in any other
          financial institution.

  Financial Institution           Type of Account        Amount you have       I Amount your
                                                                                spouse has
                                                         $                      $

                                                         $

                                                         $


 If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, yo11 must
 attach a statement certified by tlie appropriate institutional officer showi11g all receipts,
 expenditures, and balances during the last six months in your institutional accounts. Ifyou
 ltave multiple accou11ts, perhaps because you have been in multiple institutions, attach 011e
 certified statement of each accounl


 5.       List the assets, and their values, which you own or your spouse owns. Do not list clothing
          and ordinary household furnishings.

  Home                              Other real estate               Motor vehicle #1       /l)/(
  (Value)$  tJ/ /t                  (Value)$ /{/  LA                (Value)$   /1///4
        J1c..c I?.. o.11-cl.
      Ul-ri
  o~ rel, clrvJu' 5-fo if_
 ¥-ho,..,,&,
                                     ;U/A                           Model:
                                                                    Registration #:
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  Motor vehicle #2                 Other assets                        Other assets
  (Value)$
  Make and year:
  Model:
  Registration #:



 6.     State every person, business, or organization owing you or your spouse money, and the
        amount owed.

  Person owing you or your spouse         Amount owed to you                Amount owed to your
  money                                                                     spouse

  IV/If.                                  $   /U/A                          $;{)&
                                                                               ,
                                          $                                 $
                                          $                                 $

                                          $                                 $



 7.     State the persons who rely on you or your spouse for support.

  Name [or, if under 18, initials only]                     Relationship                       Age




 8.     Estimate the average monthly expenses ofyou and your family. Show separately the
        amounts paid by your spouse. Adjust any payments that are made weekly, biweekly,
        quarterly, semiannually, or annually to show the monthly rate.

                                                                        You              Your Spouse

  Rent or home-mortgage payment (include lot r;t'✓d for mobile          $                $
  home)                                               1/A
         Are real estate taxes included?    []Yes [·]No                  IV/A             N/lr
         Is property insurance included?    [] Yes [] No
  Utilities (electricity, heating fuel, water, sewer, and telephone)    $       C-8'     $   Al/*
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  Home maintenance (repairs and upkeep)
 Food                                                                $

  Clothing                                                           $

 Laundry and dry-cleaning                                            $

  Medical and dental expenses                                        $J
 Transportation (not including motor vehicle payments)               $

  Recreation, entertainment, newspapers, magazines, etc.             $

  Insurance (not deducted from wages or included in mortgage payments)

        Homeowner's or renter's:    /U /A                           I$ /1,(,:3 I //J,/J4       I
        Life:                      IV/A                                        '),
        Health:                    /1// ,4
        Motor vehicle:          ;1//A:
        Other:
  Taxes (not deducted from wages or included in mortgage
  payments) (specify):                                                                $/U/A
  Installment payments
        Motor Vehicle:                                                   $

        Credit card (name):                                              $

        Department store (name):                                         $

        Other:                                                           $

  Alimony, maintenance, and support paid to others                       $

  Regular expenses for operation of business, profession, or farm
  (attach detailed statement)
                                                                         $   /5'o
                                                                             I
                                                                                  D
  Other (specify):                                                       $

         Total monthly expenses:                                         $




 9.     Do you expect any major changes to your monthly income or expenses or in your assets
        or liabilities during the next 12 months?

        [./4s []     No         If yes, describe on an attached sheet.
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 10.         Have you spent- or will you be/Pending - any money for expenses or attorney fees in
             connection with this lawsuit? [~Yes [] No

            · lfyes, how much?$       Cb()O


                                                                                            b. ,
 11.         Provide any other information that will help explain why you cannot pay the docket fees
             for your appeal-J         Ce N1 n,et:LI'    !y-I; ~fl /)/1 fie, ufr'~f I lc,cj( the,,
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                             f~tJ (Ol'e.cl11rurl/ haJU·    ey+tGh,q AM}, l'-p-.fumft1       o,i

                  amt
                             o.ivd,,, /V';l./ff'e./<F,                 Ir
                                                         o.,rl11f; a..dcvi'0J;'           ,..    .
     Lf (j£L I /"e,,dfe,, t.L 11,of "fl"' <ablr!) P. (;), 6,y;<, IQc)I-/ J/1'1';J' Tl'XM L! 73?,N1
 12.        Atate the city       state tlfyour ~~;:/ re1Jdence. M

                                                                                    1
             Your daytime phone number: (ji!l.J fJ/g.'fS 60

             Your age:   .J.K           Your years ofschooling:    _Lj,____
             Last four digits ofyour social-security number: '-f (J 7)


             D(Ut ,,J Lee.Dcui 1-J.r
                                                            Dede: 17/18 /1--- 0'2-3                    'f




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